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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN




  Lee−Anne Walters, et al.,

                                   Plaintiff(s),
  v.                                                   Case No. 5:17−cv−10164−JEL−KGA
                                                       Hon. Judith E. Levy
  Receivership Transition
  Advisory Board, et al.,

                                   Defendant(s),



            ORDER OF REFERENCE TO UNITED STATES MAGISTRATE JUDGE

    IT IS ORDERED that this matter is referred to United States Magistrate Judge Grand
 pursuant to 28 U.S.C. § 636(b)(3), for the following purpose(s):

        • Deliberations and Verdict



       ADDITIONAL INFORMATION:          for Deliberations and Verdict




                                                   s/Judith E. Levy
                                                   Judith E. Levy
                                                   United States District Judge



                                      Certificate of Service

    I hereby certify that on this date a copy of the foregoing notice was served upon the parties
 and/or counsel of record herein by electronic means or first class U.S. mail.



                                                   s/W. Barkholz
                                                   Case Manager
